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                                                     September 10, 2019                      ALFA INTERNATIONAL
                                                                                              THE GLOBAL LEGAL NETWORK




        Honorable Joel H. Slomsky
        United States District Court, Eastern District of Pennsylvania
        U.S. Courthouse
        601 Market Street, Room 13614
        Philadelphia, PA 19106-1748

                     Re:     Valentino v. Rumer, et al
                             Civil Action No. 18-3816
                             Our File No. 2710-222

        Dear Judge Tucker:

                 Please be advised that the parties have reached an agreement to submit the above-
        captioned matter to binding high-low arbitration. The Court can remove the matter from its trial
        list for trial beginning Monday, October 7, 2019.

                     I thank you for your attention in this regard.

                                                                 Respectfully yours,

                                                                 GERMAN, GALLAGHER & MURTAGH, P.C.


                                                                 BY: /s/ Chilton G. Goebel, III
                                                                         Chilton G. Goebel, III

        CGG/lg
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